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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        04/16

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Atlas Stone Distribution, Inc.

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           2      6      –      0      6        9    8         4   8     9

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       1540 Champion Drive
                                       Number         Street                                           Number     Street
                                       Suite 200
                                                                                                       P.O. Box



                                       Carrollton                          TX       75006
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Dallas                                                          from principal place of business
                                       County



                                                                                                       Number     Street




                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Atlas Stone Distribution, Inc.                                                     Case number (if known)

7.   Describe debtor's business       A. Check one:

                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above


                                      B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in
                                           15 U.S.C. § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                      C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes

                                            4      2       3      3

8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                           Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                           insiders or affiliates) are less than $2,566,050 (amount subject to adjustment on
                                                           4/01/19 and every 3 years after that).

                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                               debtor is a small business debtor, attach the most recent balance sheet,
                                                               statement of operations, cash-flow statement, and federal income tax return or if
                                                               all of these documents do not exist, follow the procedure in
                                                               11 U.S.C. § 1116(1)(B).

                                                               A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of
                                                               creditors, in accordance with 11 U.S.C. § 1126(b).

                                                               The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                               Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                               Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                               Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                               form.

                                                               The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                               Rule 12b-2.

                                           Chapter 12

9.   Were prior bankruptcy                 No
     cases filed by or against
     the debtor within the last 8          Yes. District                                          When                      Case number
     years?                                                                                                MM / DD / YYYY
                                                District                                          When                      Case number
     If more than 2 cases, attach a
                                                                                                           MM / DD / YYYY
     separate list.
                                                District                                          When                      Case number
                                                                                                           MM / DD / YYYY




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Debtor Atlas Stone Distribution, Inc.                                                    Case number (if known)

10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                  District                                                    When
    List all cases. If more than 1,                                                                                          MM / DD / YYYY
    attach a separate list.                       Case number, if known


                                                  Debtor                                                      Relationship

                                                  District                                                    When
                                                                                                                             MM / DD / YYYY
                                                  Case number, if known


11. Why is the case filed in          Check all that apply:
    this district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                           days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                           any other district.

                                           A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                           district.


12. Does the debtor own or                 No
    have possession of any                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal                   needed.
    property that needs
                                                Why does the property need immediate attention?                 (Check all that apply.)
    immediate attention?
                                                     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                     It needs to be physically secured or protected from the weather.

                                                     It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                     related assets or other options).

                                                     Other


                                                Where is the property?
                                                                              Number      Street




                                                                              City                                      State        ZIP Code

                                                Is the property insured?

                                                     No
                                                     Yes. Insurance agency

                                                              Contact name

                                                              Phone


              Statistical and adminstrative information
13. Debtor's estimation of            Check one:
    available funds                       Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                          creditors.




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Debtor Atlas Stone Distribution, Inc.                                                    Case number (if known)

14. Estimated number of                     1-49                               1,000-5,000                               25,001-50,000
    creditors                               50-99                              5,001-10,000                              50,001-100,000
                                            100-199                            10,001-25,000                             More than 100,000
                                            200-999

15. Estimated assets                        $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

16. Estimated liabilities                   $0-$50,000                         $1,000,001-$10 million                    $500,000,001-$1 billion
                                            $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion

              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 03/22/2019
                                                      MM / DD / YYYY

                                          X /s/ Rajendra Pahuja                                     Rajendra Pahuja
                                              Signature of authorized representative of debtor      Printed name

                                          Title President

18. Signature of attorney                X /s/ Joyce Lindauer                                                     Date     03/22/2019
                                            Signature of attorney for debtor                                              MM / DD / YYYY

                                            Joyce Lindauer
                                            Printed name
                                            Joyce W. Lindauer Attorney, PLLC
                                            Firm name
                                            12720 Hillcrest Road, Suite 625
                                            Number          Street



                                            Dallas                                                     TX                   75230
                                            City                                                       State                ZIP Code


                                            (972) 503-4033                                             joyce@joycelindauer.com
                                            Contact phone                                              Email address
                                            21555700                                                   TX
                                            Bar number                                                 State




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B2030 (Form 2030) (12/15)
                                                          UNITED STATES BANKRUPTCY COURT
                                                             NORTHERN DISTRICT OF TEXAS
                                                                   DALLAS DIVISION
In re Atlas Stone Distribution, Inc.                                                                                                Case No.

                                                                                                                                    Chapter            11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept.........................................................................................................
                                                                                                                              $21,717.00
     Prior to the filing of this statement I have received.............................................................................................
                                                                                                                                $7,683.67
     Balance Due..............................................................................................................................................................
                                                                                                                                               $14,033.33

2. The source of the compensation paid to me was:
                       Debtor                                    Other (specify)

3. The source of compensation to be paid to me is:
                       Debtor                                    Other (specify)

4.         I have not agreed to share the above-disclosed compensation with any other person unless they are members and
           associates of my law firm.

           I have agreed to share the above-disclosed compensation with another person or persons who are not members or
           associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
           compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
     bankruptcy;

     b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
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B2030 (Form 2030) (12/15)

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
   representation of the debtor(s) in this bankruptcy proceeding.


                     03/22/2019                       /s/ Joyce Lindauer
                        Date                          Joyce Lindauer                             Bar No. 21555700
                                                      Joyce W. Lindauer Attorney, PLLC
                                                      12720 Hillcrest Road, Suite 625
                                                      Dallas, TX 75230
                                                      Phone: (972) 503-4033 / Fax: (972) 503-4034




    /s/ Rajendra Pahuja
   Rajendra Pahuja
   President
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                                       UNITED STATES BANKRUPTCY COURT
                                          NORTHERN DISTRICT OF TEXAS
                                                DALLAS DIVISION
  IN RE:   Atlas Stone Distribution, Inc.                                          CASE NO

                                                                                   CHAPTER    11

                                      VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/22/2019                                           Signature    /s/ Rajendra Pahuja
                                                                     Rajendra Pahuja
                                                                     President


Date                                                     Signature
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                       Adam Reed
                       8390 LBJ Freeway, Suite 570
                       Dallas, TX 75243



                       Airhant Impex
                       48 West 48th Street, Suite 712
                       New York, NY 10036



                       Alliance
                       1855 East Main St., Suite 14-122
                       Spartanburg, SC 29307



                       Andrade
                       RUA UM, Quadra UM
                       S/N CIVIT 1-29.168-020
                       Serra - ES, Brazil


                       Anjalee Granite
                       Plot #32, APIIC BP SEZ
                       Annangi Village
                       Maddipadu Mandal, Prakasam


                       Anthony Begon
                       2323 Ross Avenue
                       Suite 1900
                       Dallas, TX 75201


                       Apollo Logistics
                       5201 Blue Lagoon Drive
                       8th Floor, Suite 881
                       Miami, FL 33126


                       Attorney General of Texas
                       Bankruptcy Division
                       P O Box 12548
                       Austin, TX 78711-2548


                       BBK Westport
                       1401 S. Brentwood Blvd., Suite 900
                       St. Louis, MO 63144
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                       BBVA Compass Credit Card
                       3040 E. Trinity Mills Rd.
                       Carrollton, TX 75006



                       Brasigran
                       Rua 3B n 115 Civit II
                       Serra ES Brazil 29168-069



                       Chase Auto Finance
                       PO Box 90107
                       Fort Worth, TX 76101



                       Choan Changie Ceramic Co.
                       Fengyi Development area
                       Gengyang, Guxiang Chaozhou
                       Guandong China


                       Christopher J. Jameson Jr.
                       5429 LBJ Freeway, Suite 700
                       Dallas, TX 75240



                       Cincinnati Insurance
                       9330 LBJ Freeway, Suite 810
                       Dallas, TX 75243



                       COB
                       3333 Lee Parkway, Suite 600
                       Dallas, TX 75219



                       COI
                       3333 Lee Parkway, Suite 600
                       Dallas, TX 75219



                       Costa Granitos
                       Rus Atalydes Moreira de Sousa
                       502 CIVIT1 - Serra - Espirito Santo
                       Brazil
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                        Coyote Logistics
                        960 North Point Parkway, Suite 150
                        Alpharetta, GA 30005



                        CRP-2 Mid South Industrial LLC
                        16253 Swingley Ridge Rd., Suite 150
                        Chesterfield, MO 63017



                        Dallas County
                        co Linebarger Goggan Blair & Sampson
                        2777 N. Stemmons Frwy, Suite 1000
                        Dallas, TX 75207


                        Echo Logistics
                        600 West Chicago Ave., Suite 725
                        Chicago, IL 60654



                        Elegant Stone
                        1050 Nelson parkway
                        Viroqua, WI 54665



                        Esse International
                        3372 S. El Rancho Road
                        Salt Lake City, UT 84109



                        Export Development Canada
                        c/o Anthony J. Begon
                        Bell Nunnally & Martin LLP
                        2323 Ross Aveue, Suite 1900
                        Dallas, TX 75201

                        Fortuna
                        12614 Torbay Drive
                        Boca Raton, FL 33428



                        Francesco Di Pietro
                        Moses & Singer LLP
                        405 Lexington Avenue
                        New York,NY 10174
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                        Gramazini
                        Corrego do P acote, s/n - Distrito
                        de Vila Paulista
                        Barra de Sao Francisco - ES, 29800-000
                        Brazil

                        Gramobel
                        Rod. ES 489, s/n - Km 03
                        CEP 29.490-000
                        Atilio Vivacqua ES Brasil


                        Graniti
                        Rod. Nova Veneccia Colatina
                        KM 126.5, Lote 2, Quadra 1
                        Polo Industrail, Sao Cristovao - CEP
                        29830-000 Nova Venecia - ES - Brazil

                        GTS Cargo
                        1760 NW 94th Avenue
                        Miami, FL 33172



                        Guangdong
                        No. 3 Erhuan Road
                        Xingtan Town, Shunde, Foshan City
                        Guangdong China


                        Guidoni
                        Rod. Do Cafe km48 Zona Rural
                        Sao Domingos do Norte
                        Brazil 29745


                        Gullo International
                        1100 Landmeir Rd.
                        Elk Grove Village, IL 60007



                        Honor Logistics
                        5200 Hollister Street, Suite 101
                        Houston, TX 77040



                        Illinois Dept. of Revenue
                        Attn: Bankruptcy Unit
                        PO Box 19035
                        Springfield, IL 62794-9035
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                        Instyle Granite and Marble
                        8255 Campwood
                        Houston, TX 77055



                        Interglobo
                        2 Colony Road
                        Jersey City, NJ 07305



                        Internal Revenue Service
                        Ogden, UT 84201




                        Internal Revenue Service
                        Mail Code DAL-5020
                        1100 Commerce Street
                        Dallas, Texas 75242-1100


                        Internal Revenue Service
                        Centralized Insolvency Operations
                        PO Box 7346
                        Philadelphia, PA 19101-7346


                        International Stones
                        Plot-E5, Spicot Ph 2 Road
                        Sipcot, Phase II Industrial Complex
                        Spicot Ph 2, Housur
                        Tamil Nadu 635109 India

                        Jeffrey R. Sandberg
                        8350 N. Central Expressway
                        Suite 1111
                        Dallas, TX 75206


                        Kovach Law Firm P.L.L.C.
                        170 Westcott Street
                        Houston, TX 77007



                        Law Offices of James S. Johnson
                        2340 E. Trinity Mills Rd.
                        Suite 300
                        Carrollton, TX 75006
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                        Linebargar Goggan Blair & Sampson
                        2777 N. Stemmons Freeway
                        Suite 1000
                        Dallas, TX 75207


                        Mark A. Bukaty
                        13155 Noel Road
                        Suite 900
                        Dallas, TX 75240


                        Marmi Rocco
                        Via del Marmo 285/e
                        37020 Volargne di bolce
                        Verona


                        Marudhar
                        SY No 277/1 & 277/2 Reddiyur
                        Pottanen-Virudhasampally Rd.
                        Pottanen Village, Meuur Dam-636 453
                        Tamil Nadu, India

                        Meditarranean Shipping Company
                        700 Watermark Blvd.
                        Mount Pleasant, SC 29464



                        Mehta Legal
                        3400 Airport Avenue
                        Suite 20
                        Santa Monica, CA 90405


                        Mirasol Soapston
                        3372 S. El Rancho Road
                        Salt Lake City, UT 84109



                        MM Rocks
                        Telangana, Bollaram Industrial Area
                        Hyderabad, Telangana 502325
                        India


                        MSI INternational
                        2095 N. Batavia Street
                        Orange, CA 92865
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                        Paccar Leasing Company
                        10620 N. Stemmons Freeway
                        Dallas, TX 75220



                        Pedra Do Frade
                        Rod BR 101 Km 396
                        s/n - Permetral
                        Rio Novo do Sul-ES-Brazil
                        29.290-000 Postal Service 15

                        Philip D. Collins & Associates, P.C.
                        Attn: Craig Luffy
                        9330 LBJ Freeway, Suite 810
                        Dallas, TX 75243


                        PKD Logistics
                        5604 Wendy Bagwell Parkway
                        Suite 223
                        Hirma, GA 30141


                        Polycor
                        76 rue Saint Paul, Suite 100
                        Quebec City Quebec G1K 349
                        Canada


                        Primestone
                        45 Sheppard Avenue, Suite 412
                        Toronto, ON M2N 5W9
                        Canada


                        Proserv
                        PO Box 670965
                        Houston, TX 77267



                        Quintairos Prieto Wood & Boyer
                        9200 South Dadeline Blvd.
                        Suite 100
                        Miami, FL 33156


                        Rajendra Pahuja
                        908 Berkshire Road
                        Southlake, TX 76092
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                        Red Graniti SPA
                        54100 Massa (MS) Italy Bia
                        Dorsal 12 Italy



                        Ritu Pahuja
                        908 Berkshire Road
                        Southlake, TX 76092



                        RNS Properties, LLC
                        1540 Champion Drive
                        Carrollton, TX 75006



                        Santo Antonio
                        Rod. DO Contorno KM 2.5
                        Fazenda Monte, Libano Mail Box 456
                        Cachoerio DO Itapemirim 29300
                        Brazil

                        Sati Granite
                        Sy NO 566/567 & 39/2
                        Kamandoddi & Subburgiri (Village)
                        Pathakotta Rd, Hosur - 635 117


                        Saudi Marble Granite
                        844 Valley Road
                        Wayne, NJ 07470



                        Sava Stone
                        Sede Amm:37015 Domegliara
                        ialy Bia Casetta 7 34A



                        Savino Del Bene
                        1905 S. Mount Prospect Rd.
                        Unit D
                        Des Plaines, IL 60018


                        Selva Stone
                        399/1-5, Sanlinayanapalli Village
                        Emakkainatham Post
                        Bargue-635104, Krishnagiri, DR
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                        Shi - Hwa Stones Co. Ltd.
                        2816 Tice Creek Drive
                        Suite 7
                        Walnut Creek, CA 94595


                        Siva Stones
                        Plot No 3&4 Apiic BP Sez Annani Village
                        Maddipadu Mandal Prakasam
                        Dist Ap India


                        Stone Mix
                        Rod. Engenhero Fabiano Vivacqua
                        SN - JM 1.8 - Central Praque
                        Cachoerio De Itapemirim
                        ES - CEP 29313-158

                        Teller Levit & Silvertrust PC
                        19 South LaSalle Street
                        Suite 701
                        Chicago, IL 60603


                        Texas Comptroller of Public Accounts
                        Revenue Accting Div - Bankr Section
                        PO Box 13528
                        Austin, TX 78711-3528


                        Texas Workforce Commission
                        101 East 15th Street
                        Austin, TX 78778-0001



                        Thor Granitos
                        Rua Murilo Portugal
                        112 4 Andars Francisco Niter
                        Rio De Janerio BR 24360-410


                        U. S. Attorney General
                        Department of Justice
                        Main Justice Building
                        10th & Constitution Ave., NW
                        Washington, DC 20530-0001

                        U. S. Trustee's Office
                        1100 Commerce Street
                        Room 976
                        Dallas, TX 75242
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                        UMB Bank N.A.
                        1010 Grand Blvd.
                        Kansas City, MO 64106



                        UMB Corporate Card
                        PO Box 419734
                        Kansas City, MO 64141



                        Vickers
                        10F., No. 7, Sec. 1 Dunhua South Road
                        Songshan District
                        Taipei City, 105 Taiwan


                        Weha
                        7606 Whitehall Executive Center Drive
                        Suite 400
                        Charlotte, NC 28273


                        West Quartz
                        3520 W. Miller Rod, Suite 130
                        Garland, TX 75041



                        Xiamen Further Star
                        Room 1502 No. 201
                        Hongye Building Hubin Road
                        Xiamen China
